       Case 4:08-cr-00063-BSM        Document 96       Filed 10/01/09    Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                         PLAINTIFF

v.                               NO. 4:08CR00063-02 JLH

AMANDA TATUM                                                                  DEFENDANT


                                          ORDER

       The government has filed a motion to dismiss without prejudice as to Amanda Tatum. The

motion is GRANTED without objection. Docket #94. The indictment is hereby dismissed without

prejudice as to Amanda Tatum.

       IT IS SO ORDERED this 1st day of October, 2009.




                                                 ___________________________________
                                                 J. LEON HOLMES
                                                 UNITED STATES DISTRICT JUDGE
